                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE

 UNITED STATES OF AMERICA,                    )
                                              )
              Plaintiff,                      )
                                              )
 v.                                           )     No.:   3:21-CR-35-TAV-DCP-2
                                              )
 KEVIN M. MCCOLLUM, JR.,                      )
                                              )
              Defendant.                      )


                                         ORDER

       This criminal case is before the Court on the report and recommendation (“R&R”)

 [Doc. 34] entered by United States Magistrate Judge Debra C. Poplin on September 3,

 2021, recommending that the Court grant the government’s Emergency Motion Under

 18 U.S.C. 3145 For Revocation of Magistrate Judge’s Release Order [Doc. 26]. Defendant

 has objected to the R&R [Doc. 36]. The government has not responded, and the time for

 filing a response has elapsed [See Doc. 34, p. 19 (setting the response deadline for

 September 14, 2021, due to the urgency of this matter)]. This matter is now ripe for the

 Court’s review. For the reasons stated below, the Court will OVERRULE defendant’s

 objections [Doc. 36], ADOPT the R&R [Doc. 34] in whole, and GRANT the

 government’s motion [Doc. 26].

 I.    Background

       The Court presumes familiarity with the R&R’s description of the background in

 this case. Defendant did not file any specific objections as to the factual background set




Case 3:21-cr-00035-TAV-DCP Document 37 Filed 09/29/21 Page 1 of 9 PageID #: 126
 forth in the R&R [Doc. 34, pp. 1–9]. The Court, therefore, incorporates by reference the

 factual background established in the R&R.

 II.    Standard of Review

        “If a person is ordered released by a magistrate judge, . . . the attorney for

 the Government may file with the [district court] a motion for revocation of the

 order . . . .” 18 U.S.C. § 3145(a)(1). Such a motion “shall be determined promptly.” Id.

 The district court’s review of the magistrate judge’s release or detention order is de novo.

 United States v. Marcrum, 953 F. Supp. 2d 877, 880 (W.D. Tenn. 2013). The district court

 may rely both on the evidence and offers of proof presented at the original detention

 hearing before the magistrate judge, as well as additional evidence and offers of proof at

 its discretion. United States v. Zapien, No. 3:14-cr-37, 2014 WL 1028435, at *2 (M.D.

 Tenn. Mar. 17, 2014).

        Section 3142 of Title 18 provides the framework for the district court’s analysis as

 to whether release pending trial is proper. See United States v. Webb, 238 F.3d 426

 (6th Cir. 2000) (unpublished table opinion). The ultimate touchstone of this analysis is

 “whether there are conditions of release that will reasonably assure the appearance of the

 [defendant] as required and the safety of any other person and the community.” 18 U.S.C.

 § 3142(g). Factors to be considered in this determination include, but are not limited to:

 (1) the nature and circumstances of the offense charged, including whether it is a crime

 involving a controlled substance; (2) the weight of the evidence against the defendant;

 (3) the history and characteristics of the defendant, e.g., his or her character, mental and

                                              2


Case 3:21-cr-00035-TAV-DCP Document 37 Filed 09/29/21 Page 2 of 9 PageID #: 127
 physical condition, family and community ties, financial resources, criminal history, and

 substance-abuse history; and (4) the nature and seriousness of the danger posed to the

 community by the defendant’s potential release. Id. Section 3142(e)(3)(A) establishes a

 rebuttable presumption in favor of detention where there is probable cause to believe that

 the defendant committed certain offenses, including “an offense for which a maximum

 term of imprisonment of ten years or more is prescribed in the Controlled Substances Act

 (21 U.S.C. 801 et seq.)[.]” 18 U.S.C. § 3142(e)(3)(A).

        The Court referred this reviewal process to Judge Poplin for a hearing [Doc. 27],

 and Judge Poplin issued the instant R&R [Doc. 34]. The Court reviews de novo those

 portions of the R&R to which the defendant has objected unless the objections are

 frivolous, conclusive, or general. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b)(3);

 Smith v. Detroit Fed’n of Tchrs., Loc. 231, 829 F.2d 1370, 1373 (6th Cir. 1987); Mira v.

 Marshall, 806 F.2d 636, 637 (6th Cir. 1986). “Objections disputing the correctness of the

 magistrate’s recommendation, but failing to specify the findings believed to be in error are

 too general and therefore insufficient.” Stamtec, Inc. v. Anson, 296 F. App’x 516, 519

 (6th Cir. 2008) (citing Spencer v. Bouchard, 449 F.3d 721, 725 (6th Cir. 2006)). The Court

 “may accept, reject, or modify, in whole or in part, the findings or recommendations” made

 by the magistrate judge. 28 U.S.C. § 636(b)(1). Accordingly, the Court considers the

 R&R, the motion for revocation of the magistrate judge’s release order, the parties’

 underlying and supporting briefs, and defendant’s objections all in light of the

 applicable law.

                                              3


Case 3:21-cr-00035-TAV-DCP Document 37 Filed 09/29/21 Page 3 of 9 PageID #: 128
 III.   Analysis

        The Court first notes that defendant’s objections to the magistrate judge’s R&R

 appear to be too general. Ultimately, defendant does not identify any facts that the

 magistrate judge failed to consider in her detention recommendation, but instead, simply

 disagrees with the magistrate judge’s weighing of these facts [Doc. 36]. Nevertheless, for

 the sake of completeness, the Court will address the relevant factors in determining whether

 granting the government’s emergency motion is appropriate.

        The parties agree that the presumption in favor of detention established in

 § 3142(e)(3)(A) applies here [Doc. 36, p. 2]. A grand jury has charged defendant with

 violating 21 U.S.C. § 841 by possessing with the intent to distribute heroin and fentanyl

 [Doc. 3]. The maximum term of imprisonment for this offense exceeds 10 years. 21 U.S.C.

 § 841(b)(1)(B). Thus, probable cause exists to believe that defendant has committed an

 offense described in 18 U.S.C. § 3142(e)(3)(A), and therefore, a presumption that

 defendant should be detained pending trial applies. Considering this presumption, the

 Court turns to the § 3142(g) factors.

        As to the first factor, the nature and circumstances of the offense, Judge Poplin

 concluded that this factor supported detention in this case because defendant is charged

 with a controlled substance offense [Doc. 34, p. 14]. Defendant does not specifically object

 to Judge Poplin’s conclusion as to this factor but argues that this factor alone does not

 warrant pretrial detention [Doc. 36, pp. 3–4]. The Court need not address whether the

 nature and circumstances of the offense alone would be sufficient to support detention in

                                              4


Case 3:21-cr-00035-TAV-DCP Document 37 Filed 09/29/21 Page 4 of 9 PageID #: 129
 this instance because, as discussed infra, the Court finds that numerous factors support

 pretrial detention. And, the Court agrees with Judge Poplin’s determination that, given the

 fact that defendant is charged with an offense involving heroin and fentanyl, which are

 particularly dangerous drugs, the nature and the circumstances of the charge favor

 detention.

        Addressing the second factor, the weight of the evidence against defendant, Judge

 Poplin noted that the charged offense is among those crimes for which Congress has

 deemed the offender particularly dangerous or particularly likely to flee [Doc. 34, p. 14].

 Judge Poplin stated that the weight of the evidence of defendant’s dangerousness is

 significant given that he is charged with possessing with intent to distribute 40 grams or

 more of a mixture and substance containing fentanyl and heroin [Id.]. Judge Poplin noted

 that drug trafficking is inherently dangerous and the record contains evidence that the

 alleged drug trafficking was conducted in a dangerous manner given that a firearm was

 found in the vehicle [Id.]. Judge Poplin thus concluded that the allegations submitted by

 the government support a finding that defendant poses a significant danger to the

 community such that sufficient conditions may not be imposed [Id. at 15]. Regarding

 defendant’s criminal history, Judge Poplin noted that defendant has no apparent history of

 violence nor any convictions for violent offenses, but found that this particular evidence

 was not clearly indicative of either defendant’s dangerousness or lack thereof [Id.]. Finally,

 Judge Poplin found that defendant was a moderate flight risk because, although he is a

 lifelong Michigan resident with strong family ties to that state, he has no known ties in the

                                               5


Case 3:21-cr-00035-TAV-DCP Document 37 Filed 09/29/21 Page 5 of 9 PageID #: 130
 Eastern District of Tennessee, and, while defendant has no documented history of

 failure to appear, he does have a prior probation violation with unclear circumstances

 [Id. at 15–16]. Thus, Judge Poplin concluded that the second favor weighed in favor of

 detention [Id. at 16].

        Again, defendant does not specifically address this factor, but he does mention some

 facts that Judge Poplin addressed in her discussion of this factor, namely, his lack of history

 of violence, his strong family ties in Michigan, and his lack of history of failing to appear

 [Doc. 36, p. 3]. However, Judge Poplin considered each of these facts, in addition to other

 facts that defendant fails to address. First, while Judge Poplin noted defendant’s lack of

 violent history, she concluded that this fact was not “clearly indicative” of defendant’s

 dangerousness or lack thereof [Doc. 34, p. 15]. Defendant provides no explanation as to

 why a lack of prior violent history is “clearly indicative” of his lack of dangerousness,

 particularly in light of the nature of the instant charge. Second, Judge Poplin noted

 defendant’s strong family ties to Michigan, but also noted that he has no known ties to the

 Eastern District of Tennessee, and therefore concluded that defendant is a “moderate” flight

 risk [Id. at 15–16]. Defendant does not address his lack of ties to this state, and simply

 re-emphasizes his ties in Michigan [Doc. 36, p. 3]. Finally, Judge Poplin noted that

 defendant had no documented history of failing to appear, but also noted that defendant

 has a prior probation violation, the circumstances of which were unclear [Doc. 34,

 pp. 15–16]. Again, defendant does not address the prior probation violation and simply

 reiterates his lack of history of failure to appear [Doc. 36, p. 3]. Ultimately, the Court

                                               6


Case 3:21-cr-00035-TAV-DCP Document 37 Filed 09/29/21 Page 6 of 9 PageID #: 131
 agrees with Judge Poplin’s weighing of the “mitigating” facts that defendant cites with the

 other, more “aggravating” facts, which defendant declines to address, and finds that this

 factor weighs in favor of detention.

        As to defendant’s history and characteristics, Judge Poplin found that this third

 factor weighs “mostly” in favor of detention [Doc. 34, p. 17]. Judge Poplin found

 significant evidence of defendant’s strong family ties, that support release, including that

 defendant has many family members in the Detroit area who will allow him to live with

 them or have offered to be his third-party custodian, and who have showed their support

 by attending his initial detention hearing by video and/or telephone [Id. at 16]. Judge

 Poplin also noted defendant’s employment history with Amazon prior to sustaining injuries

 from a car wreck, the lack of evidence of mental health issues, and the evidence of

 various health conditions, all of which she found “weigh[] mostly in favor of” release

 [Id. at 16–17]. Judge Poplin also noted that defendant has a felony drug conviction from

 2009 based on cocaine trafficking, and convictions for driving on a suspended or revoked

 license and possession of marijuana [Id. at 17]. Judge Poplin further noted that defendant

 admitted using marijuana daily, including the day prior to his arrest [Id.]. Judge Poplin

 ultimately relied on defendant’s prior criminal history and lack of ties to this district in

 concluding that this factor mostly supports detention [Id.].

        Defendant contends that his history and characteristics mitigate against detention

 [Doc. 36, p. 3]. He states that he has a sparse criminal history and has no history of violence

 [Id.]. He highlights his strong family ties and support and notes that family members

                                               7


Case 3:21-cr-00035-TAV-DCP Document 37 Filed 09/29/21 Page 7 of 9 PageID #: 132
 offered to serve as third-party custodians [Id.]. He also states that he maintained stable

 employment until sustaining serious injuries from an automobile accident [Id.]. Finally,

 he notes that he has no history of non-appearance for court [Id.]. He contends that these

 facts rebut the presumption that he poses a danger to the community [Id.]. But, the Court

 notes that Judge Poplin specifically addressed all of these factors, and, indeed, found that

 they “mostly” supported release [Doc. 34, pp. 16–17]. As with the second factor, defendant

 simply fails to address the more “aggravating” factors that Judge Poplin concluded

 supported detention in this instance, such as his criminal history, which includes a felony

 drug offense, his past history of drug use, and his lack of ties to this state. While the Court

 agrees with Judge Poplin’s conclusion that many of the facts which defendant cites would

 support pretrial release, considering all of the facts, and particularly defendant’s history of

 drug use and drug offenses, the Court finds that this factor supports detention.

        As to the final factor, the nature and seriousness of the danger to the community,

 Judge Poplin found that, due to the overwhelming risk of dangerousness associated with

 trafficking heroin and fentanyl, and without any details to assess the suitability of

 defendant’s proposed residence, defendant’s proposed conditions are insufficient to

 reasonably assure the safety of the community [Doc. 34, pp. 17–18]. Thus, Judge Poplin

 found that there were no apparent conditions or combination of conditions to reasonably

 assure defendant’s appearance in court and the safety of the community, and the fourth

 factor weighed in favor of detention [Id. at 18]. Defendant again does not specifically

 address this factor, but merely contends that the nature of the instant offense alone is not

                                               8


Case 3:21-cr-00035-TAV-DCP Document 37 Filed 09/29/21 Page 8 of 9 PageID #: 133
 sufficient to warrant his detention [Doc. 36, pp. 3–4]. But, for the reasons stated supra, the

 Court finds that each of the factors supports pretrial detention in this case. Accordingly,

 defendant’s objections [Doc. 36] are OVERRULED.

 IV.    Conclusion

        In sum, after an independent, de novo review, the Court finds that all four of the

 § 3142(g) factors favor detention. And regardless, the Court is of the opinion that the

 factors favoring detention carry more weight in this case, given the exceptional seriousness

 and dangerousness of the offense. Accordingly, the Court will OVERRULE defendant’s

 objections [Doc. 36], ADOPT the R&R [Doc. 34] in whole, and GRANT the

 government’s motion [Doc. 26]. The magistrate judge’s order releasing defendant pending

 trial is REVOKED. Defendant will REMAIN in federal custody pending trial.

        IT IS SO ORDERED.


                                     s/ Thomas A. Varlan
                                     UNITED STATES DISTRICT JUDGE




                                               9


Case 3:21-cr-00035-TAV-DCP Document 37 Filed 09/29/21 Page 9 of 9 PageID #: 134
